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           NOTE: This order is nonprecedential.


   United States Court of Appeals
       for the Federal Circuit
                  ______________________

                 KOSS CORPORATION,
                       Appellant

                             v.

                 BOSE CORPORATION,
                         Appellee
                  ______________________

                        2022-2090
                  ______________________

     Appeal from the United States Patent and Trademark
 Office, Patent Trial and Appeal Board in No. IPR2021-
 00297.
            -------------------------------------------------

                 KOSS CORPORATION,
                       Appellant

                             v.

  KATHERINE K. VIDAL, Under Secretary of Com-
 merce for Intellectual Property and Director of the
    United States Patent and Trademark Office,
                 Intervenor-Intervenor
                ______________________

                   2022-2091, 2022-2115
                  ______________________
Case: 22-2090    Document: 16     Page: 2   Filed: 12/20/2022




 2                   KOSS CORPORATION v. BOSE CORPORATION




    Appeals from the United States Patent and Trade-
 mark Office, Patent Trial and Appeal Board in Nos.
 IPR2021-00305 and IPR2021-00381.
           -------------------------------------------------

                 KOSS CORPORATION,
                       Appellant

                             v.

                 BOSE CORPORATION,
                      Cross-Appellant
                  ______________________

       2023-1173, 2023-1179, 2023-1180, 2023-1191
                ______________________

    Appeals from the United States Patent and Trade-
 mark Office, Patent Trial and Appeal Board in Nos.
 IPR2021-00680 and IPR2021-00612.
                ______________________
 PER CURIAM.
                        ORDER
     Upon consideration of the above-captioned related
 cases, which involve patents sharing a common specifica-
 tion and the assertion of overlapping prior art,
     IT IS ORDERED THAT:
    The above-captioned appeals shall be treated as com-
 panion cases and assigned to the same merits panel.
                                   FOR THE COURT

 December 20, 2022                 /s/ Peter R. Marksteiner
      Date                         Peter R. Marksteiner
                                   Clerk of Court
